Case 19-80064-TLS          Doc 687       Filed 03/18/19 Entered 03/18/19 09:30:19                    Desc Main
                                        Document      Page 1 of 2


                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                     )
In re:                                                               ) Chapter 11
                                                                     )
SPECIALTY RETAIL SHOPS HOLDING CORP., et                             ) Case No. 19-80064-TLS
al., 1
                                                                     )
                         Debtors.                                    ) (Joint Administration Requested)
                                                                     )

    CERTIFICATION OF NO OBJECTION TO THE MONTHLY FEE STATEMENT OF
      MCGRATH NORTH MULLIN & KRATZ, PC LLO FOR ALLOWANCE OF AN
 ADMINISTRATIVE CLAIM FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
         INCURRED FROM JANUARY 16, 2019 THROUGH JANUARY 31, 2019

         The undersigned hereby certifies that, as of the date hereof, he is not aware of, and to his knowledge

he has not been served with, any answer, objection, or other responsive pleading with respect to the Monthly

Fee Statement of McGrath, North, Mullin & Kratz, PC LLO for Allowance of an Administrative Claim for

Compensation and Reimbursement of Expenses Incurred from January 16, 2019 through January 31, 2019

[Docket No. 553] (the “Monthly Fee Statement”). McGrath North Mullin & Kratz, PC LLO (the

Applicant”) filed the Monthly Fee Statement with the United States Bankruptcy Court for the District of

Nebraska (“the Court”) on February 28, 2019 and caused the Monthly Fee Statement to be served on all

necessary parties on March 1, 2019. Pursuant to the procedures set forth in the Order (I) Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Retained Professionals And (II)

Granting Related Relief dated February 21, 2019 [Docket No. 473] (the “Interim Compensation Order”),

objections to the Monthly Fee Statement were to be filed and served no later than March 15, 2019 at 12:00

p.m. (prevailing Central Time).



1         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157);
Pamida Transportation LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526);
Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); ShopKo Gift Card Co., LLC (2161); ShopKo
Holding Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical
Manufacturing, LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS
Trucking, LLC (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin,
54304.
Case 19-80064-TLS          Doc 687       Filed 03/18/19 Entered 03/18/19 09:30:19            Desc Main
                                        Document      Page 2 of 2


        The undersigned further certifies that he has inquired and no one appearing for McGrath North has

received any objection to the Monthly Fee Statement, and that he further caused a review of the Court’s

docket in this case to be conducted and that no answer, objection, or other responsive pleading to the

Monthly Fee Statement appears thereon. The Monthly Fee Statement was filed and served in accordance

with the Interim Compensation Order. Consequently, pursuant to the Interim Compensation Order, and

without the need for a further order of the Court, the Debtors are authorized to pay the Applicant eighty

percent (80%) of its fees and one hundred percent (100%) of its expenses as requested in the Monthly Fee

Statement upon the filing of this certification.



Dated: March 18, 2019                 /s/ James J. Niemeier
 Omaha, Nebraska                      James J. Niemeier (NE Bar No. 18838)
                                      Michael T. Eversden (NE Bar No. 21941)
                                      Lauren R. Goodman (NE Bar No. 24645)
                                      MCGRATH NORTH MULLIN & KRATZ, P.C. LLO
                                      First National Tower, Suite 3700
                                      1601 Dodge Street
                                      Omaha, Nebraska 68102
                                      Telephone:      (402) 341-3070
                                      Facsimile:      (402) 341-0216
                                      Email:          jniemeier@mcgrathnorth.com
                                                      meversden@mcgrathnorth.com
                                                      lgoodman@mcgrathnorth.com

                                      Nebraska Counsel For The Debtors




                                                   2
